Case: 1:06-cv-04914 Document #: 325 Filed: 12/21/11 Page 1 of 1 PagelD #:5745 be
United States District Court, Northern District of Illinois Qu

 

 

 

 

 

 

 

 

AND GATES LITIGATION [319]

 

Name of Assigned Jud Sitting Judge if Oth
or Magistrate Judge Nan Nolan than Assigned Judge
CASE NUMBER 06 C 4914 DATE 12/21/2011
CASE Willa M. Kennedy, et al vs. City Of Chicago, et al
TITLE
"DOCKET ENTRY TEXT

Enter Order granting Joint Motion by Defendants Jody Weis, City Of Chicago to consolidate cases KENNEDY

 

Notices mailed by Judicial staff.

 

Wi [ For further detail see separate order(s).]

 

Z0HDEC 21 PH 4: b2

LXS

 

Courtroom Deputy
Initials:

 

 

 

 

06C4914 Willa M. Kennedy, et al vs. City Of Chicago, et al

Page 1 of 1

 
